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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                      §
In re:                                                §        Chapter 11
                                                      §
CORE SCIENTIFIC, INC., et al.,                        §        Case No. 22-90341 (CML)
                                                      §
                 Reorganized Debtors.1                §        (Jointly Administered)
                                                      §        Re: Docket No. 1749

          CERTIFICATION OF COUNSEL REGARDING FINAL DECREE
    CLOSING CERTAIN CASES AND AMENDING CAPTION OF REMAINING CASE

                 The undersigned hereby certifies as follows:

                 1.       On January 16, 2024, the United States Bankruptcy Court for the Southern

District of Texas (the “Court”) entered the Findings of Fact, Conclusions of Law, and Order (I)

Approving Disclosure Statement on a Final Basis and (II) Confirming Fourth Amended Joint

Chapter 11 Plan of Core Scientific, Inc. and Its Affiliated Debtors (Docket No. 1749)

(the “Confirmation Order”) confirming the Fourth Amended Joint Chapter 11 Plan of Core

Scientific, Inc. and Its Affiliated Debtors (With Technical Modifications) (Docket No. 1722) (the

“Plan”).2 The Effective Date of the Plan occurred on January 23, 2024 (Docket No. 1782).

                 2.       As a result of certain transactions consummated on the Effective Date



1
    The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
    federal tax identification number, are as follows: Core Scientific, Inc. (3837); Core Scientific Specialty Mining
    (Oklahoma) LLC (4327); American Property Acquisition, LLC (0825); American Property Acquisitions I, LLC
    (9717); and American Property Acquisitions VII, LLC (3198). The Reorganized Debtors’ corporate headquarters
    is 210 Barton Springs Road, Suite 300, Austin, Texas 78704. The Reorganized Debtors’ service address is 2407
    S. Congress Ave, Suite E-101, Austin, Texas 78704. The Debtors in the other six pending chapter 11 cases (which
    continue to be jointly administered with the cases of the Reorganized Debtors), each of which has either been
    dissolved or merged into other entities as of the Effective Date, consist of the following: Core Scientific Mining
    LLC (6971); Core Scientific Acquired Mining LLC (6074); Core Scientific Operating Company (5526); Radar
    Relay, Inc. (0496); Starboard Capital LLC (6677); and RADAR LLC (5106).

2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
    Plan.
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pursuant to the Plan and Confirmation Order, six of the eleven Debtors have either been dissolved

or merged into other entities as of the Effective Date and five Reorganized Debtors remain: Core

Scientific, Inc.; Core Scientific Specialty Mining (Oklahoma) LLC; American Property

Acquisition, LLC; American Property Acquisitions I, LLC; and American Property Acquisitions

VII, LLC.

                 3.      Pursuant to Section 5.25 of the Plan and paragraph 89 of the Confirmation

Order, the Reorganized Debtors are authorized to submit an order to the Court under certification

of counsel that is in form and substance reasonably acceptable to the U.S. Trustee and the

Reorganized Debtors that closes and issues a final decree for each of the Chapter 11 Cases. In

accordance with the Plan and the Confirmation Order, the Reorganized Debtors hereby submit, in

the form attached hereto as Exhibit A (the “Proposed Order”), a proposed final decree (i) closing

the Chapter 11 Cases of all the Debtors except for Core Scientific Specialty Mining (Oklahoma)

LLC and (ii) amending the case caption consistent therewith.

                 4.      The chapter 11 case of Reorganized Debtor Core Scientific Specialty

Mining (Oklahoma) LLC Case No. 22-90345 (CML) will remain open to resolve any pending

contested matters and adversary proceedings, any matter relating to Morgan Hoffman’s appeal of

the Confirmation Order (the “Hoffman Appeal”),3 and reconcile, object to, and/or resolve claims

against each of the Debtors.

                 5.      The purpose of closing the Chapter 11 Cases of all the Debtors except for

Core Scientific Specialty Mining (Oklahoma) LLC is solely to avoid the incurrence of U.S. Trustee

fees and not to impact any substantive rights of the Debtors, the Reorganized Debtors, or any other

party in interest.


3
    See Notice of Filing of an Appeal (Docket No. 1800).


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                6.        The Proposed Order has been reviewed by the U.S. Trustee and there is no

objection to its entry.

                WHEREFORE the Reorganized Debtors respectfully request that the Court enter

the Proposed Order at its earliest convenience.


Dated: February 21, 2024
       Houston, Texas
                                              Respectfully submitted,

                                               /s/ Clifford W. Carlson
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                                     Certificate of Service

I hereby certify that on February 21, 2024, a true and correct copy of the foregoing document was
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.



                                                       /s/ Clifford W. Carlson
                                                      Clifford W. Carlson
